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          1 Roksana D. Moradi-Brovia (Bar No. 266572)
            W. Sloan Youkstetter (Bar No. 296681)
          2 RHM LAW LLP
            17609 Ventura Blvd., Suite 314
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            roksana@RHMFirm.com
          5 sloan@RHMFirm.com
          6 Attorneys for Debtor
            Special Unit Security Inc.
          7
          8                        UNITED STATES BANKRUPTCY COURT

          9                         CENTRAL DISTRICT OF CALIFORNIA

        10                                  LOS ANGELES DIVISION

        11 In re                                       )       Case No. 2:22-bk-15668-VZ
                                                       )
        12                                             )       Chapter 11
                  SPECIAL UNIT SECURITY INC.,          )
        13                                             )       NOTICE OF OBJECTION AND
                      Debtor and Debtor-in-Possession. )       DEBTOR’S OBJECTION TO PROOF
        14                                             )       OF CLAIM NO. 6 FILED BY
                                                       )       DEVONNAIR R. JOHNSON;
        15                                             )       MEMORANDUM OF POINTS AND
                                                       )       AUTHORITIES; DECLARATION OF
        16                                             )       EDMON MURADYAN IN SUPPORT
                                                       )       THEREOF
        17                                             )
                                                       )       Date: July 11, 2023
        18                                             )       Time: 11:00 a.m.
                                                       )       Place: Courtroom 1368
        19                                             )              255 E. Temple Street
                                                       )              Los Angeles, CA 90012
        20                                             )
                                                       )
        21
                    TO THE HONORABLE VINCENT P. ZURZOLO, UNITED STATES
        22
              BANKRUPTCY JUDGE; CLAIMANT, DEVONNAIR R. JOHNSON; AND ALL
        23
              CREDITORS AND PARTIES IN INTEREST:
        24
                    PLEASE TAKE NOTICE that on July 11, 2023 at 11:00 a.m., in Courtroom 1575
        25
              of the above-entitled Court located at 255 E. Temple Street, Los Angeles, CA 90012,
        26
              Special Unit Security Inc., the “Debtor” and “Debtor-in-Possession” in the above-stated
        27
              case, shall and does hereby move this Court for an order disallowing in full Proof of Claim
        28

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          1 (“POC”) No. 6, filed by Devonnair R. Johnson (“Claimant”) in the amount of $500,000,
          2 pursuant to 11 U.S.C. §502(b)(1), as set forth herein.
          3         The Claimant alleges that he holds priority claim against the Debtor pursuant to 11
          4 U.S.C. §503(a)(4) for allegations of wages due and owing, statutory penalties, and
          5 personal injury.
          6         The Objection is based upon this Notice of Objection and Objection, the attached
          7 declaration, all pleadings and records on file in this case, and upon such other evidentiary
          8 matters as may be presented to the Court regarding the Objection.
          9         PLEASE TAKE FURTHER NOTICE that pursuant to Local Bankruptcy Rule
        10 9013-1, any party opposing the relief sought by the Objection must file a written
        11 opposition setting forth the facts and law upon which the opposition is based and must
        12 appear at the hearing on the Objection. Any factual allegations set forth in such a written
        13 response must be supported by competent and admissible evidence.
        14          Any response or opposition to the Objection must be filed with the Court and served
        15 Debtor’s counsel at least 14 days prior to the scheduled hearing date on the Objection (not
        16 excluding Saturdays, Sundays or legal holidays). Such responses, if any, must be served
        17 on the Debtor’s counsel at the address noted in the upper left-hand corner of the first page
        18 of this notice. Any response not timely filed and served may be deemed by the Court to be
        19 consent to the granting of the relief requested by the Objection.
        20
        21 Dated: June 9, 2023                           RHM LAW LLP
        22
                                                           By:       /s/ Roksana D. Moradi-Brovia
        23                                                           Roksana D. Moradi-Brovia
                                                                      W. Sloan Youkstetter
        24                                                               Attorneys for Debtor
                                                                      Special Unit Security Inc.
        25
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          1                  MEMORANDUM OF POINTS AND AUTHORITIES
          2                                    I.   INTRODUCTION
          3         The Debtor commenced this bankruptcy case by filing a voluntary petition under
          4 Chapter 11 of 11 U.S.C. §101 et seq. (the “Bankruptcy Code”) on October 18, 2022. The
          5 Debtor made the small business debtor election under subchapter V on the petition.
          6         Gregory Jones was appointed the subchapter V trustee (“Trustee”) on October 19,
          7 2022 [Docket No. 4].
          8         The Debtor is a California corporation, formed in August 2013. Edmon Muradyan
          9 is the Chief Executive Officer and sole shareholder. The Debtor provides security services
        10 throughout Southern California. It is fully licensed as a private patrol operator by the State
        11 of California.
        12
        13                           II.      IDENTIFICATION OF CLAIM
        14          The deadline to file proofs of claim (“POC”) and/or proofs of interest in this case
        15 was December 27, 2022 (the “Bar Date”) [Docket No. 8].
        16          On December 27, 2022, Devonnair R. Johnson (“Claimant”) filed POC No. 6, in the
        17 amount of $500,000 (the “Claim”). Attached as Exhibit “A” and incorporated herein is
        18 POC No. 6. The Claim relates to allegations of wages due and owing, statutory penalties,
        19 and personal injury.
        20
        21                             III.     STATEMENT OF FACTS
        22          Claimant began his employment with the Debtor on or about October 9, 2018. At
        23 the time of Claimant’s employment with the Debtor, Claimant received, reviewed, and
        24 signed a copy of the Claimant’s employee handbook, which set rules and regulations of
        25 Claimant’s employ with Debtor.
        26          At the time of his employment, the Debtor specifically instructed Claimant that he
        27 would not be working overtime. Claimant understood and agreed.
        28

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          1         Claimant worked a total of thirty-two hours for the Debtor over a period of less than
          2 one month, before he quit on or about October 24, 2018. From the time of his employment
          3 with the Debtor, until the time Claimant quit several weeks later, Claimant was paid an
          4 hourly rate of $14.00/hour.
          5         Each time Claimant was paid, Claimant signed a payment stub verifying the
          6 accuracy of the payment he received and also filled out and signed time sheets showing the
          7 hours he has worked, and the breaks he took. None of the aforementioned payment stubs
          8 or time sheets Claimant signed showed that he worked any overtime or was deprived of
          9 taking any meal or rest breaks provided under the California Labor Code.
        10          On the day Claimant quit, he was told to come to the Debtor’s office to pick up his
        11 final pay. Claimant failed to appear at the Debtor’s office on the appointed date and time
        12 as agreed.
        13          The Debtor then arranged for Claimant to come to Debtor’s office on November 1,
        14 2018 at 4:00 p.m. to collect his final pay. Claimant finally showed up at 6:00 p.m. just as
        15 the office was to close for the evening.
        16          During the November 1, 2018 meeting, it was understood and agreed that Claimant
        17 would receive $112 as full and final payment. Claimant disputed the amount that he was
        18 due, claiming he was owed an additional $60, despite the fact that Claimant signed a
        19 settlement and release that the $112 payment was all that Claimant was due.
        20          Despite this fact, Claimant again insisted that he was due additional pay, refused to
        21 leave the Debtor’s office, and instigated a brief physical altercation which prompted a call
        22 by the Debtor to the local Los Angeles County Sheriff’s station for assistance. The
        23 Sheriff’s arrived and interviewed all the parties to the altercation. The Los Angeles
        24 County Sheriff’s office did not recommend charges to be filed against either Claimant or
        25 the Debtor and the investigation was closed with no charges filed.
        26
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          1                                    IV.    OBJECTION
          2         A claim is deemed allowed unless a party in interest objects. 11 U.S.C. §502(a).
          3 Section 502 requires the Court to disallow a claim that “is unenforceable against the debtor
          4 and the property of the debtor, under any agreement or applicable law for a reason other
          5 than because such claim is contingent or unmatured.”
          6          Bankruptcy Rule 3001 provides that if a claim is based on a writing, the original or
          7 a duplicate of the writing shall be filed with the claim.
          8         Under Bankruptcy Rule 3001(f), a proof of claim executed and filed in accordance
          9 with the Bankruptcy Rules constitutes prima facie evidence of the validity and amount of
        10 the claim.
        11          To overcome the presumption of validity created by a timely-filed proof of claim,
        12 an objecting party must do one of the following: (1) object based on legal grounds and
        13 provide a memorandum of points and authorities setting forth the legal basis for the
        14 objection; or (2) object based on a factual ground and provide sufficient evidence (usually
        15 in the form of declarations under penalty of perjury) to create triable issues of fact. In re
        16 G.I. Indus., Inc., 204 F.3d 1276, 1280 (9th Cir. BAP 2000); In re Medina, 205 B.R. 216,
        17 222 (9th Cir. BAP 1996); In re Hemingway Transport, Inc., 993 F.2d 915, 925 (1st Cir.
        18 1993).
        19          Upon objection, a proof of claim provides “some evidence as to its validity and
        20 amount” and is “strong enough to carry over a mere formal objection without more.” See
        21 Lundell v. Anchor Constr. Spec., Inc., 223 F.3d 1035, 1039 (9th Cir. 2000) [citing In re
        22 Holm, 931 F.2d 620, 623 (9th Cir. 1991)].
        23          An objecting party bears the burden and must “show facts tending to defeat the
        24 claim by probative force equal to that of the allegations of the proofs of claim themselves.”
        25 In re Holm, 931 F.2d at 623.
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          1         When the objector has shown enough evidence to negate one or more facts in the
          2 proof of claim, the burden shifts back to the claimant to prove the validity of the claim by a
          3 preponderance of evidence. See Lundell, 223 F.3d at 1039.
          4         The Claimant has the ultimate burden of proving the validity of its claim.
          5
          6         A.     The Claim is Unliquidated
          7         A debt is unliquidated unless the amount of the debt is “readily determinable.”
          8 Slack v. Wilshire Ins. Co. (In re Slack), 187 F.3d 1070, 1073 (9th Cir. 1999). “The
          9 definition of ‘ready determination’ turns on the distinction between a simple hearing to
        10 determine the amount of a certain debt, and an extensive and contested evidentiary hearing
        11 in which substantial evidence may be necessary to establish amounts or liability.” In re
        12 Slack, 187 F.3d at 1073-74 (quoting Fed. Deposit Ins. Corp. v. Wenberg (In re Wenberg),
        13 94 B.R. 631, 633 (9th Cir. BAP 1988), aff'd & adopted, 902 F.2d 768 (9th Cir. 1990)); see
        14 also In re Nicholes, 184 B.R. at 89 (“The test for ‘ready determination’ is whether the
        15 amount due is fixed or certain or otherwise ascertainable by reference to an agreement or
        16 by a simple computation.”).
        17          Here, the Claimant fails to attach any documentation as to how the claim amount of
        18 $600,000 was ascertained and/or calculated.
        19          The Claimant also asserts that the basis for the claim was overtime wages,
        20 lunch/break penalties, and late penalties. However, the Debtor specifically instructed
        21 Claimant that he would not be working overtime. Claimant understood and agreed.
        22          Each time Claimant was paid, Claimant signed a payment stub verifying the
        23 accuracy of the payment he received and also filled out and signed time sheets showing the
        24 hours he has worked, and the breaks he took. None of the aforementioned payment stubs
        25 or time sheets Claimant signed showed that he worked any overtime or was deprived of
        26 taking any meal or rest breaks provided under the California Labor Code. Thus, the
        27 Claimant had no opportunity to earn overtime.
        28

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          1         The only amount that would be fixed or ascertainable are the actual wages earned
          2 during the Claimant’s employment. However, the claim explicitly encompasses more that
          3 must be determined. Therefore, the claim is unliquidated.
          4
          5     B. The Claim is Unenforceable Under State Law
          6         As a preliminary matter, Claimant’s civil lawsuit is comprised of sixteen causes of
          7 action; eight of which are alleged wage and hour violations regarding record keeping,
          8 payment terms, as well as payment for overtime, meal and rest breaks. The remaining
          9 causes of action revolve around the Debtor’s alleged assault and battery against Claimant
        10 and the corresponding infliction of emotional distress, as well as separate claims for
        11 conversion, false imprisonment and unfair business practice.
        12          With regard to the wage and hour violation allegations, Claimant’s allegations are
        13 undermined by documents Claimant signed (1) showing he never worked overtime and
        14 was not entitled to such, and (2) showing that Claimant was afforded and actually took the
        15 breaks to which an employee is entitled under the California Labor Code.
        16          Moreover, Claimant has signed an exit/release form in which he affirms the fact that
        17 he was paid for all the hours worked and that he had taken the breaks to which he was
        18 entitled. See Shaw v. City of Sacramento, 250 F3d 1289, 1292-1293 (9th Cir. 2001)
        19 (applying Calif. law)— which addressed the effect of written release: and held that, in
        20 general, a written release extinguishes any obligation covered by its terms, provided it was
        21 not obtained by fraud, duress or undue influence, and also that the release of “all claims …
        22 arising from or related to … employment and departure from employment” included
        23 discrimination and defamation claims although employee believed otherwise.
        24          In addition, Claimant abruptly quit his job with the Debtor and was contacted by
        25 Debtor to come to Debtor’s office approximately 48 hours later to receive his final pay.
        26 See Labor Code, §202 (which states that quitting employees normally must be paid within
        27 72 hours.).
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          1         In this case, Claimant failed to show up at the appointed date and time. When
          2 Claimant did appear – later than scheduled – he instigated a physical altercation that was
          3 ultimately quelled by local law enforcement. As such, Claimant actions and subsequent
          4 claims may be subject to the “unclean hands” doctrine defense which “closes the
          5 courthouse door” to one “tainted with inequitableness or bad faith relative to the matter in
          6 which he seeks relief, however improper may have been the behavior of the defendant.”
          7 Camp v. Jeffer, Mangels, Butler & Marmaro (1995) 35 CA4th 620, 638). Unclean hands
          8 require inequitable conduct by plaintiff in connection with the matter in controversy and
          9 provides a complete defense to plaintiff's action. Dickson, Carlson & Campillo v. Pole
        10 (2000) 83 CA4th 436, 446.
        11
        12                                    V.     CONCLUSION
        13          WHEREFORE, for the reasons set forth herein, Debtor respectfully request that this
        14 Court:
        15          (1)    Sustain its objection to Claim No. 6;
        16          (2)    In the alternative, determine the reasonableness of the claim by setting an
        17 evidentiary hearing and allowing the parties to conduct discovery; and
        18          (3)    For such other and further relief as is just and proper under the
        19 circumstances.
        20
        21 Dated: June 9, 2023                            RHM LAW LLP
        22
                                                           By:      /s/ Roksana D. Moradi-Brovia
        23                                                          Roksana D. Moradi-Brovia
                                                                     W. Sloan Youkstetter
        24                                                              Attorneys for Debtor
                                                                     Special Unit Security Inc.
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          1                       DECLARATION OF EDMON MURADYAN
          2
          3         I, EDMON MURADYAN, declare as follows:
          4
          5         1.     I have personal knowledge of the facts set forth herein, and if called as a
          6 witness, I could and would testify competently with respect thereto. Where facts are
          7 alleged upon information and belief, I believe them to be true.
          8         2.     I am the Chief Executive Officer, and 100% shareholder, and a custodian of
          9 records of Special Unit Security Inc., the “Debtor” and “Debtor-in-Possession” in the
        10 above-captioned case. I am authorized to make decisions for the Debtor.
        11          3.     I am a custodian of the Debtor’s books, records, and documents. The Debtor
        12 maintains records of its transactions in the regular course of business, and it is the Debtor’s
        13 practice and procedure to maintain records and to record transactions, acts, and events at or
        14 about the time the transaction occurs. The Debtor relies on these records in connection
        15 with its business dealings.
        16          4.     The Debtor commenced this bankruptcy case on October 18, 2022. The
        17 Debtor made the small business debtor election under subchapter V on the petition.
        18          5.     Gregory Jones was appointed the subchapter V trustee (“Trustee”) on
        19 October 19, 2022 [Docket No. 4].
        20          6.     The Debtor is a California corporation, formed in August 2013. The Debtor
        21 provides security services throughout Southern California. It is fully licensed as a private
        22 patrol operator by the State of California.
        23          7.     The deadline to file proofs of claim (“POC”) and/or proofs of interest in this
        24 case was December 27, 2022 (the “Bar Date”) [Docket No. 8].
        25          8.     On December 27, 2022, Devonnair R. Johnson (“Claimant”) filed POC No.
        26 6, in the amount of $500,000 (the “Claim”). Attached as Exhibit “A” and incorporated
        27
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          1 herein is the POC No. 6. The Claim relates to allegations of wages due and owing,
          2 statutory penalties, and personal injury.
          3         9.     Claimant began his employment with the Debtor on or about October 9,
          4 2018. At the time of Claimant’s employment with the Debtor, Claimant received,
          5 reviewed, and signed a copy of the Claimant’s employee handbook, which set rules and
          6 regulations of Claimant’s employ with Debtor.
          7         10.    At the time of his employment, we instructed Claimant that he would not be
          8 working overtime. Claimant understood and agreed.
          9         11.    Claimant worked a total of thirty-two hours for the Debtor over a period of
        10 less than one month, before he quit on or about October 24, 2018. From the time of his
        11 employment with the Debtor, until the time Claimant quit several weeks later, Claimant
        12 was paid an hourly rate of $14.00/hour.
        13          12.    Each time Claimant was paid, Claimant signed a payment stub verifying the
        14 accuracy of the payment he received and also filled out and signed time sheets showing the
        15 hours he has worked, and the breaks he took. None of the aforementioned payment stubs
        16 or time sheets Claimant signed showed that he worked any overtime or was deprived of
        17 taking any meal or rest breaks provided under the California Labor Code.
        18          13.    On the day Claimant quit, he was told to come to the Debtor’s office to pick
        19 up his final pay. Claimant failed to appear at the office on the appointed date and time as
        20 agreed.
        21          14.    We then arranged for Claimant to come to Debtor’s office on November 1,
        22 2018 at 4:00 p.m. to collect his final pay. Claimant finally showed up at 6:00 p.m. just as
        23 the office was to close for the evening.
        24          15.    During the November 1, 2018 meeting, it was understood and agreed that
        25 Claimant would receive $112 as full and final payment. Claimant disputed the amount that
        26 he was due, claiming he was owed an additional $60, despite the fact that Claimant signed
        27 a settlement and release that the $112 payment was all that Claimant was due.
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
17609 Ventura Blvd., Suite 314, Encino, CA 91316.

                                                                      NOTICE OF OBJECTION AND DEBTOR’S
A true and correct copy of the foregoing document entitled (specify): __________________________________________
 OBJECTION TO PROOF OF CLAIM NO. 6 FILED BY DEVONNAIR R. JOHNSON
________________________________________________________________________________________________
________________________________________________________________________________________________
 MEMORANDUM OF POINTS AND AUTHORITIES;
________________________________________________________________________________________________
 DECLARATION OF EDMON MURADYAN IN SUPPORT THEREOF
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
06/09/2023          I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________,
              06/09/2023        I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

06/09/2023                    Max Bonilla                                                      /s/ Max Bonilla
 Date                          Printed Name                                                     Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF) [CONTINUED]:

    •   Subchapter V Trustee: Gregory Kent Jones (TR) gjones@sycr.com,
        smjohnson@sycr.com;C191@ecfcbis.com;cpesis@stradlinglaw.com
    •   Counsel for Debtor: Roksana D. Moradi-Brovia roksana@rhmfirm.com,
        matt@rhmfirm.com;rosario@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;priscilla@rhmfi
        rm.com;pardis@rhmfirm.com;russ@rhmfirm.com;rebeca@rhmfirm.com;david@rhmfirm.com;sloa
        n@rhmfirm.com
    •   Counsel for US Trustee: Kelly L Morrison kelly.l.morrison@usdoj.gov
    •   Counsel for Debtor: Matthew D. Resnik matt@rhmfirm.com,
        roksana@rhmfirm.com;rosario@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;priscilla@r
        hmfirm.com;pardis@rhmfirm.com;russ@rhmfirm.com;rebeca@rhmfirm.com;david@rhmfirm.com;
        sloan@rhmfirm.com
    •   United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov


2. SERVED BY UNITED STATES MAIL [CONTINUED]:


Hon. Vincent P. Zurzolo
U.S. Bankruptcy Court
Central District – L.A. Division
255 E. Temple Street, Suite 1360
Los Angeles, CA 90012

Special Unit Security Inc.
1457 W. El Segundo Blvd.
Compton, CA 90222

Devvonnair R. Johnson
c/o Justice Turner & Yana Henriks
McMurray Henriks, LLP
811 Wilshire Boulevard, Suite 1640
Los Angeles, CA 90017

Devvonnair R. Johnson
c/o Rene M. Maldonado, Esq.
1801 Century Park E, Ste 840
Los Angeles, CA 90067-2349
